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   4
     Entered on Docket
    5July 20, 2021
___________________________________________________________________
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  15 Attorneys for Christina W. Lovato, Chapter 7 Trustee
  16
                              UNITED STATES BANKRUPTCY COURT
  17                                    DISTRICT OF NEVADA
  18
  19    In re                                            Lead Case No.: BK-19-50102-gs
                                                         (Chapter 7)
  20    DOUBLE JUMP, INC.
                                                         Substantively Consolidated with:
  21
                  Debtor.
  22                                                      19-50130-gs    DC Solar Solutions, Inc.
                                                          19-50131-gs    DC Solar Distribution, Inc.
  23
         X Affects DC Solar Solutions, Inc.               19-50135-gs    DC Solar Freedom, Inc.
  24     X Affects DC Solar Distribution, Inc.
         X Affects DC Solar Freedom, Inc.                ORDER GRANTING TRUSTEE’S
  25     X Affects Double Jump, Inc.                     MOTION TO EXTEND DEADLINES
  26                                                     UNDER 11 U.S.C. §§ 108 AND 546

  27                                                     Hearing Date: July 19, 2021
                                                         Hearing Time: 9:30 a.m.
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 1          THIS MATTER came before the Honorable Gary A. Spraker at a telephonic hearing
 2   conducted on July 19, 2021, at 9:30 a.m. upon the Trustee’s Motion to Extend Deadlines Under
 3   11 U.S.C. §§ 108 and 546 [ECF No. 2744] (“Motion”) seeking an order extending the time period
 4   under 11 U.S.C §§ 108(a) and 546(a). Jeffrey Hartman, Michael Budwick, and Solomon Genet
 5   appeared on behalf of Trustee Christina W. Lovato.
 6          The Court considered the Motion, the docket activity in these substantively consolidated
 7   cases, and the presentations of counsel. Based upon the record, and good cause appearing,
 8          IT IS ORDERED that the Motion is Granted;
 9          IT IS FURTHER AND FINALLY ORDERED that the time limitations set forth in 11
10   U.S.C. §§ 108 and 546(a) for the commencement of avoidance actions and other actions on behalf
11   of the Estate, and thus the time limitations for filing any actions subject to the time limitations of
12   11 U.S.C. §§ 108 and 546(a), as well as for amending any pending complaints, are extended
13   through and including October 28, 2021. The extensions apply to any and all parties against whom
14   the Trustee and the Estate may hold any type of claim. This Order is without prejudice to the
15   Trustee seeking a further extension.
16   Submitted by:
17   HARTMAN & HARTMAN
18   /s/ Jeffrey L. Hartman
     Jeffrey L. Hartman, Esq.
19
20   MELAND BUDWICK, P.A.

21   /s/ Michael S. Budwick
22   Michael S. Budwick, Esq.

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 1                            ALTERNATIVE METHOD Re: RULE 9021
 2   In accordance with Local Rule 9021, counsel submitting this document certifies that the order
 3   accurately reflects the court’s ruling and that (check one):
            The court has waived the requirement set forth in LR 9021(b)(1).
 4
      X     No party appeared at the hearing or filed an objection to the paper.
 5
            I have delivered a copy of the proposed order to all counsel who appeared at the hearing,
 6          any trustee appointed in this case and any unrepresented parties who appeared at the
            hearing, and each has approved or disapproved the order, or failed to respond as indicated
 7
            below.
 8
     Trustee’s Counsel:
 9    X     Prepared / Approved the form of this order
10
            Waived the right to review the order and/or
11
            Appeared at the hearing, waived the right to review the order
12
13          Matter unopposed, did not appear at the hearing, waived the right to review the order

14          Disapproved the form of this order
15
            Did not respond to the paper
16   U.S. Trustee:
17          Approved the form of this order
18          Disapproved the form of this order
19          Waived the right to review the order and/or
20          Did not respond to the paper

21    X     Did not appear at the hearing or object to the paper

22          I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order
            with the motion pursuant to LR 9014(g), and that no party has objected to the form or
23          content of the order.
24   I declare under penalty of perjury that the foregoing is true and correct.
25   Submitted by:
26   HARTMAN & HARTMAN
27   /s/ Jeffrey L. Hartman
     Jeffrey L. Hartman
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